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                              No. 25-1644

       IN THE UNITED STATES COURT OF APPEALS
               FOR THE THIRD CIRCUIT
                        BETTE EAKIN, et al.,
                                                          Plaintiffs-Appellees,
                                      v.
        ADAMS COUNTY BOARD OF ELECTIONS, et al.,
                                                        Defendants-Appellees,
         REPUBLICAN NATIONAL COMMITTEE, et al.,
                                                      Intervenors-Appellants,
           COMMONWEALTH OF PENNSYLVANIA,
                                                        Intervenor-Appellant.

         On Appeal from the United States District Court
             for the Western District of Pennsylvania
       Case No. 1:22-cv-00340 (Hon. Susan Paradise Baxter)

 PLAINTIFFS-APPELLEES’ MOTION FOR LEAVE TO FILE
 SUPPLEMENTAL APPENDIX AND TO FILE UNDER SEAL

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     Plaintiffs-Appellees Bette Eakin, Democratic Senatorial Campaign

Committee (DSCC), Democratic Congressional Campaign Committee

(DCCC), and American Federation of Teachers (AFT) Pennsylvania

(collectively, “Plaintiffs”) move for leave to file the enclosed Supplemental

Appendix. In support of this motion, Plaintiffs state as follows:

     1. Appellants the Republican National Committee, National

Republican Congressional Committee, and Republican Party of

Pennsylvania filed their brief and appendix the morning of May 6, 2025.

Docs 73, 76. Appellants did so without consulting Plaintiffs as to the

contents of the appendix or providing Plaintiffs an opportunity to

designate additional portions of the record.

     2. Pursuant to this Court’s order setting an expedited briefing

schedule, Plaintiffs’ deadline to file their responsive brief is today, June

4, 2025, by 12:00 p.m. To ensure a complete record, including evidence

that was part of the record considered by the district court, and upon

which Plaintiffs rely in their responsive brief, Plaintiffs prepared the

enclosed Supplemental Appendix.

     3. Plaintiffs further move to file Volume 2 of the Supplemental

Appendix under seal. Consistent with the district court’s order granting


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in part Plaintiffs’ motion to file under seal, ECF No. 279, Plaintiffs filed

a partially redacted expert declaration by Dr. Daniel Hopkins, ECF No.

290 Exhibit I, as well as a Concise Statement of Material Facts redacting

references to Dr. Hopkins’ conclusions, ECF No. 289. Although these

documents were sealed only provisionally, Defendant Lancaster County

moved to continue designating the materials “Confidential” and keep

them under seal. See ECF No. 310. Over Plaintiffs’ objection, ECF No.

336, the district court granted the motion, ECF No. 364.

     4. Plaintiffs reproduce the redacted versions of ECF No. 289 and

ECF No. 290 Ex. I in Volume 1, Supp. App. 21-42, 344-377. But to abide

by the district court’s ruling below, Plaintiffs respectfully move to

maintain Plaintiffs’ unredacted Concise Statement of Material Facts,

ECF No. 289, and the Expert Declaration of Daniel Hopkins, ECF No.

290 Ex. I, under seal in the Supplemental Appendix, Volume 2.

     Because Plaintiffs did not contribute to the appendix filed by

Appellants, and because the additional materials in the Supplemental

Appendix will assist the Court in its review of this matter, Plaintiffs

respectfully request that the Court enter an order granting Plaintiffs

leave to file the enclosed Supplemental Appendix.


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Dated: June 4, 2025                        Respectfully submitted,

                                           s/ Uzoma N. Nkwonta

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                           Combined Certifications

     At least one of the attorneys whose name appears on this brief is a

member of the bar of this Court, or has filed an application for admission

pursuant to L.A.R. 46.1.

     This brief complies with the word limit of Fed. R. App. P. 27(d)(2)

because, excluding the parts exempted by Fed. R. App. P. 32(f), it

contains 375 words. This brief also complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type-style requirements

of Fed. R. App. P. 32(a)(6) because it has been prepared in a

proportionally spaced 14-point serif font (Century Schoolbook) using

Microsoft Word.

     The text of this electronic brief is identical to the text in paper

copies that will be filed with the Court.

     Pursuant to 3d Cir. L.A.R. 31.1(c), Sophos Core Agent version

2024.3.2.3.0 has been run on this electronic file and no virus was

detected.

      Dated: June 4, 2025                        s/ Uzoma N. Nkwonta
                                                 Uzoma N. Nkwonta




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                           Certificate of Service

     I hereby certify that, on June 4, 2025, this motion and

corresponding appendix were electronically filed with the Clerk of Court

using the appellate CM/ECF system.

     Dated: June 4, 2025                        s/ Uzoma N. Nkwonta
                                                Uzoma N. Nkwonta




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